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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 PLEASRDAO, an exempted foundation
 company,
                                                            PRELIMINARY INJUNCTION ORDER
                                 Plaintiff,                      24-CV-4126 (PKC) (MMH)

                   - against -

 MARTIN SHKRELI,

                                 Defendant.
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 PAMELA K. CHEN, United States District Judge:

         WHEREAS, Plaintiff PleasrDAO (“Plaintiff”) applied on June 10, 2024 for a temporary

 restraining order and an order to show cause for a preliminary injunction, an order seizing assets,

 and an order for disgorgement and accounting against Defendant Martin Shkreli (“Defendant”);

         WHEREAS, this Court entered an Order granting Plaintiff’s application on June 11, 2024

 (the “TRO”) and ordered Defendant to show cause by June 25, 2024 why a preliminary injunction

 should not issue;

         WHEREAS, upon Defendant’s application for an extension, and good cause shown, this

 Court extended the TRO and the date by which Defendant was to show cause why a preliminary

 injunction should not issue, to August 23, 2024 (the “Preliminary Injunction Hearing”);

         WHEREAS, on August 23, 2024, the Preliminary Injunction Hearing took place; and

         WHEREAS, based on Plaintiff’s Verified Complaint, the motion papers, declarations, and

 exhibits submitted by the parties, and oral argument by the parties at the Preliminary Injunction

 Hearing, the Court found, for the reasons stated on the record at the Preliminary Injunction

 Hearing, that:
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        1.      Plaintiff raises sufficiently serious questions going to the merits of its claims for

                violation of the Defend Trade Secrets Act, misappropriation of trade secrets, and

                unjust enrichment;

        2.      Plaintiff will suffer immediate and irreparable injury if a preliminary injunction is

                not entered;

        3.      The balance of the hardships tips decidedly in Plaintiff’s favor; and

        4.      A preliminary injunction is in the public interest;

        Therefore, IT IS HEREBY ORDERED that Defendant is preliminarily restrained and

 enjoined pursuant to Rule 65 of the Federal Rules of Civil Procedure and/or New York Civil

 Practice Law & Rules § 6301, pending a final determination of this action, from possessing, using,

 disseminating, or selling any interest in the Wu-Tang Clan album Once Upon a Time in Shaolin

 (the “Album”), including its data and files or the contents of the Album, or in any way causing

 further damage to Plaintiff respecting the Album through this conduct; and

        IT IS FURTHER ORDERED that, pursuant to the Court’s equitable powers, Defendant:

        1.      By August 30, 2024, shall sequester and turn over all of his copies, in any form, of

                the Album or its contents to defense counsel, and file:

                a.     an affidavit under penalty of perjury attesting that he has sequestered and

                       turned over all of his copies, in any form, of the Album or its contents to

                       defense counsel, and that he no longer possesses any copies, in any form, of

                       the Album or its contents; and

                b.     a letter from defense counsel certifying that they have taken possession of

                       said Album copies and contents.




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          2.     By September 30, 2024, shall file an inventory and account in the form of an

                 affidavit signed by Defendant under penalty of perjury, that includes:

                 a.      the nature and volume of the copies of the Album’s data and files that

                         Defendant retained;

                 b.      the names and contact information of the individuals to whom he distributed

                         the data and files;

                 c.      the date and method of such distribution; and

                 d.      the amounts, source, date, and nature of any proceeds, revenues, profits, or

                         other financial benefits made by Defendant from his distribution or playing

                         of the Album or its contents.

          IT IS FURTHER ORDERED that Plaintiff need not post security.

          Defendant is warned that any act by him in violation of any of the terms of this Order, after

 actual notice of this Order to Defendant, may be considered and prosecuted as contempt of this

 Court.

                                                         SO ORDERED.

                                                         /s/ Pamela K. Chen
                                                         Pamela K. Chen
                                                         United States District Judge
 Dated: August 26, 2024
        Brooklyn, New York




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